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   7
                           UNITED STATES DISTRICT COURT
   8
                         CENTRAL DISTRICT OF CALIFORNIA
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  11                                           CASE NO. 2:21-cv-06057-JFW-RAO
       GABRIELA CABRERA, an
  12                                           DECLARATION OF LEAD TRIAL
       individual,
  13                                           COUNSEL
                       Plaintiff,
  14
  15   v.

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  17   POMONA LODGE INC., a California
       corporation; KANU PATEL,
  18   individually and as trustee UTD dated
  19   1/23/06; HEMLATA PATEL,
       individually and as trustee UTD dated
  20   1/23/06; and DOES 1-10, inclusive,
  21                    Defendants.
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                         DECLARATION OF LEAD TRIAL COUNSEL
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   1        I, Osman M. Taher, declare as follows:
   2        1.    I am an attorney duly admitted to practice before this Court. I am Of
   3 Counsel of Manning Law, APC, attorneys of record for Gabriela Cabrera and Lead
   4 Trial Counsel.
   5        2.    I am registered as an CM/ECF User.
   6        3.    My E-Mail Addresses of Record are otaher@manninglawoffice.com
   7 and disabilityrights@manninglawoffice.com.
   8        4.    I have read this Court’s Standing Order and the Local Rules.
   9
  10        I declare under penalty of perjury under the laws of the United States that the
  11 foregoing is true and correct, and that this Declaration was executed on August 18,
  12 2021, at Newport Beach, California.
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  14                                     By: /s/ Osman M. Taher
  15                                           Osman M. Taher

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                          DECLARATION OF LEAD TRIAL COUNSEL
